                     IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA

                         CIVIL ACTION FILE NO. 5:23-cv-00059

 CROWN EQUIPMENT CORPORATION


                                     Plaintiff,
 v.


 DAVID BRADY, WILLIAM TUCKER,
 JOSEPH BOGGS, BRAWTUS
 HOLDING COMPANY, INC. (f/k/a
 Pneu-Mech Systems Manufacturing,
 Inc.), BRAWTUS, MANAGEMENT                                 Notice of Appearance
 COMPANY, LLC, PNEU-MECH
 SYSTEMS MANUFACTURING, LLC
 (K.N.A. Pneu-Mech Dissolution, LLC),
 PNEU-MECH SYSTEMS
 MANUFACTURING, INC., UNITED
 FINISHING SYSTEMS LLC,
                                  Defendants,
 v.
 James Andrews and Jerry Trostle,
                    Third Party Defendants.


       PLEASE TAKE NOTICE that Elizabeth Vennum of Hull & Chandler, 1009 East

Boulevard Charlotte, North Carolina 28203, hereby files this Notice of Appearance as counsel for

Third Party Defendants, James Andrews and Jerry Trostle.




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This, the 13th day of May 2024.

                            HULL & CHANDLER

                                      By:   /s/ Elizabeth Vennum
                                            Elizabeth Vennum
                                            N.C. State Bar No. 49747
                                            Hull & Chandler
                                            1009 East Boulevard
                                            Charlotte, NC 28203
                                            lvennum@lawyercarolina.com
                                            Tel. (704) 375-8488
                                            Counsel for Third Party Defendants




                                  2
                                   Certificate of Service

       This is to certify that on this date the undersigned filed the foregoing Notice of
Appearance using the Court’s CM/ECF system which will send notification of such filing to the
following CM/ECF participants:




This the 13th day of May 2024.

                                   HULL & CHANDLER

                                          By:     /s/ Elizabeth Vennum
                                                  Elizabeth Vennum




                                             3
